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                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF FLORIDA                               April 16, 2021
                                  GAINESVILLE DIVISION

IN RE:                                            )
PHILLIPS, KRISTY LYNN                             )
a/k/a Kristy Lynn Cope, a/k/a Kristy Lynn         )
Stanford, a/k/a Kristy Lynn Sherouse              )             Case: 20-10149
       Debtor                                                   CHAPTER 7
______________________________/

ORDER GRANTING CHAPTER 7 TRUSTEE’S MOTION TO (I) APPROVE A SHORT SALE
 OF REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND
     INTERESTS PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m), (II) SURCHARGE
         AGREEMENT BETWEEN SECURED LENDER AND THE ESTATE,
          AND (III ) OTHER RELIEF WITH LENDER’S CONSENT (DOC. 48)
                     (22505 NW 188 Street, High Springs, FL, 32643)

   THIS CASE came before the Court pursuant to consider the Chapter 7 Trustee’s Motion for

Authority to Sell Real Property Free and Clear of Liens, Claims, Encumbrances, and Interests

Pursuant to 11 U.S.C.§363(b),(f, and (m))with Lender’s Consent (Doc. 70) filed herein by Theresa M

Bender, as Trustee (hereinafter “the Trustee”). The Trustee filed her Notice of Intent to Sell under

negative notice as set forth in Local Rule 2002-2 (Doc. 52). As no interested parties or creditors have

filed a response or objection to the sale as set forth in the Motion, or the Notice within the prescribed

time period set forth in Local Rule 2002-2, the Court considers the matter unopposed and no hearing is

required.

   It is ORDERED:

   1. Chapter 7 Trustee’s Motion for Authority to Sell Real Property of the Estate Pursuant to 11

U.S.C. §363(b),(f, and (m)) with Consent of Lienholder (Doc. 48) is GRANTED for that property

located at 22505 NW 188 Street, High Springs, FL, 32643 (the “Real Property”).

   2. Trustee is, authorized to sell the above described Real Property in the amount of $239,000.00 to

Cheryl a. Patella (unrelated third party) (their assigns, or current purchaser) to purchase the undivided

interest in the Real Property, free and clear of liens, claims, encumbrances, and interests.
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       Consistent with the CD (formerly “HUD” attached to the Motion), the Trustee shall pay at

closing to PennyMac (the “First Secured Creditor”) in FULL and FAIR SATISFACTION of their

entire note and lien in the accept $207,580.54 as payment in full and fair satisfaction of its note and

mortgage. Upon receipt of the funds at closing, the Lender will release its lien on the property.


   3. In addition, all fees, closing costs, settlement costs, and taxes, including the real estate

commission, county taxes, recording, transfer, tax stamps, and preservation costs (includes cleaning

services, utilities, locksmith, etc.), the 2020 real property taxes; any prorated 2021 real property taxes

and the real estate commission will be paid at time of closing..

   4. The net of approximately $12,150.00 is to be paid to the Bankruptcy Estate at closing.

   5. Closing shall take place within 90 days of this Order. Failure to close within 90 days of this

Order will render this Order moot.

   6. In the event that the current purchaser withdraws its offer prior to the expiration of the

inspection period, or otherwise fails to consummate the sale transaction, this Court authorizes the

Trustee to accept any back-up offers submitted during the pendency of this sale prior to closing as long

as the sale conforms to this Order.

   7. The Trustee represents that the sale of this estate property is necessary to liquidate the interest of

the Estate, and with the proceeds, provide a pro-rata distribution to the remaining allowable claims of

this Estate.

   8. The Trustee represents that the sale of the Property was negotiated in good faith and based on

the principles of best business judgment. The Purchaser is a good faith purchaser entitled to the

protections of Section 363(m).


   9. The Trustee has made sufficient allegations and a request in the Motion to waive the 14 day stay

requirement of Bankruptcy Rule 6004(h). No objections being raised, the 14-day stay requirement of

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Rule 6004(h) is lifted immediately upon execution of this Order.


    10. The Trustee and Counsel for PennyMac have consulted each other and consent to the entry of

this Consent Order.


                          April 16, 2021
DONE AND ORDERED this day___________________.


                                                       KAREN K. SPECIE
                                                       United States Bankruptcy Judge
Trustee is directed to serve a copy of this order on interested parties and file a certificate of service within three (3) days
of entry of the order.

Order Prepared by: (Modified in Chambers)
Theresa M Bender
Copies provided to:
Debtor(s)
Debtor(s) Counsel
Theresa M Bender, Trustee
Charles Edwards, Asst. U.S. Trustee
All Parties in Interest




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